960 F.2d 145
    NOTICE: Fourth Circuit I.O.P. 36.6 states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.Charles E. CARTER, Plaintiff-Appellant,andCharles E. CARTER; Alysia Carter, Plaintiffs,v.Cypert O. WHITFILL, Judge;  The Kennedy Institute;Frederick Palmer, Dr.;  Sharon Reeves,Defendants-Appellees.
    92-1153
    United States Court of Appeals, Fourth Circuit.
    Submitted:  April 6, 1992
    April 17, 1992
    
      Charles E. Carter, Appellant Pro Se.
      Before ERVIN, Chief Judge, and MURNAGHAN and WILLIAMS, Circuit Judges.
      PER CURIAM:
    
    
      1
      Charles E. Carter appeals from the district court's order denying relief under 42 U.S.C. § 1983 (1988).  Our review of the record and the district court's opinion discloses that this appeal is without merit.  Accordingly, we affirm on the reasoning of the district court.  Carter v. Whitfill, No. CA-91-3564-HAR (D. Md. Dec. 31, 1991).  We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the Court and argument would not aid the decisional process.
    
    AFFIRMED
    